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               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )       Criminal No. 21-mj-
               v.                             )
                                              )       FILED UNDER SEAL
STEPHEN MICHAEL AYRES                         )
                                              )
                Defendant.                    )

                            AFFIDAVIT IN SUPPORT OF
                    CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Austin Price, being duly sworn, affirm and state:

                                       INTRODUCTION

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and am

currently assigned to the Washington Field Office. As a Special Agent, I am authorized by law or

by a Government agency to engage in or supervise the prevention, detention, investigation, or

prosecution of violations of Federal criminal laws. During my employment with the FBI, I have

conducted and/or assisted in criminal investigations involving terrorism, theft of trade secrets,

economic espionage, fraud, firearms violations, and other federal violations of the United States

Code. In these investigations, I have been involved in evidence collection and the application for,

and execution of, arrest and search warrants related to the aforementioned criminal offenses.

       2.      This affidavit is submitted for the purpose of establishing probable cause. The facts

in this affidavit are based on my investigation, personal observations, training, and experience, as

well as information conveyed to me by other law enforcement officials. Because this affidavit is




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limited in purpose, it is not intended to include each and every fact and matter observed by me or

known to the United States.

                                  PURPOSE OF AFFIDAVIT

       3.      This affidavit is submitted in support of a criminal complaint charging the

defendant, Stephen Michael Ayres (“AYRES”) with one count of with one count of Obstruction

of Justice/Congress, in violation of Title 18, United States Code, Section 1512(c)(2); one count of

Unlawful Entry into Restricted Buildings or Grounds, in violation of Title 18, United States Code,

Section 1752(a); and one count of Violent Entry and Disorderly Conduct on Capitol Grounds, in

violation of Title 40, United States Code, Section 5104(e)(2). This affidavit is also submitted in

support of an arrest warrant for AYRES.

                                  STATEMENT OF FACTS

                    Probable Cause – The U.S. Capitol on January 6, 2021

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification were allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

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2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.



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         9.    During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

         10.   In an effort to identify individuals who had entered the Capitol unlawfully on

January 6, 2021, the FBI, Washington D.C. Metropolitan Police Department (MPD), and U.S.

Capitol Police (USCP) sought the public’s assistance in identifying individuals who unlawfully

entered the restricted grounds and building of the U.S. Capitol. As a result, thousands of tips were

received in the week following the January 6 incident.

                             Probable Cause – AYRES’s Hotel Video

         11.   Multiple tips pertained to STEPHEN AYRES, specifically that he was one of the

many people who had unlawfully entered the U.S. Capitol on January 6, 2021, and that he had

then had posted a video on Facebook about it later that day.

         12.   On January 10, 2021, the FBI reviewed the Facebook video, which was

approximately 7:50 minutes long and depicted three individuals—AYRES, a male, and a female—

describing their experiences inside the U.S. Capitol building on January 6, 2021. At some point

after January 10, 2021, the video was either removed from AYRES’s Facebook page or was made

private. On January 16, 2021, law enforcement accessed a video posted on YouTube 1 and

determined that it was the same video that the FBI had observed on AYRES’s Facebook page on

January 10, 2021. The video was posted to YouTube on January 7, 2021, by YouTube account

“Johnny Anonymous,” and was labeled, “It was all ANTIFA breaking into the Capitol 1-6-2021.”


1
    https://www.youtube.com/watch?v=VP_EUGd8LGU.
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       13.     In the video, both AYRES and another male (herein after “Male 1”) identified

themselves by first and last name. A female (herein after referred to as “Female 1”) identified

herself by first name only. In the below screenshot from the video, AYRES is circled in yellow

and Male 1 is circled in green:




       14.     Male 1 stated the video was being filmed “back at the hotel,” where they were

“safe,” but that they had been “all at the Capitol Building” and they wanted to “share what really

happened today.” Male 1 stated that “the three of us we were all at the Capitol building” and “all

witnessed it with our own eyes.” Male 1 added that Antifa breached the building and were the ones

who were violent and breaking doors and windows. Male 1 stated that the incident was led

“chiefly” by Antifa.

       15.     Male 1 stated that he and AYRES “walked right into the Capitol building” after

Antifa “breached the door” so it was left open. Male 1 stated that the police “escorted” them from
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one end of the building to the other, and AYRES added, “they walked us, yep, yep.” AYRES stated

that the police “basically let everyone walk in.” Male 1 stated that it “wasn’t just all these hostile

Proud Boys people” and that multiple types of people were there. Male 1 explained that the police

“marched them down,” and AYRES added that the police “did a bunch of chanting and then they

basically marched them out to go out that door, so everybody walked out the other door.” Male 1

said that “they just wanted that footage of people inside the Capitol building to make it seem like

all the Trump people bum-rushed the Capitol.”

          16.   Also in the video, Female 1 stated that the police “moved the barricades” and let

people through. The female said she had her picture taken with an individual whom she later

learned was a member of Antifa and who was at the Capitol to “make us look crazy.” Male 1 stated

that it was a “staged Antifa setup” coordinated by the media, police, and the Mayor of Washington,

D.C. AYRES agreed that the entire incident was “definitely planned out.” AYRES said that, at one

point during the incident, the police “flipped the switch and everyone dispersed from there” after

the police “got what they needed.” Female 1 stated that, when “it was time to clear everybody,

they were like really rough and physical with people,” and someone was “jabbing [her] with his

club.”

          17.   Male 1 stated that “it’s not over, trust me, the purpose of today was to expose Pence

as a traitor,” and Female 1 responded that that “the American people are not going to let this slide,

especially after today.” AYRES responded, “yup.” AYRES stated that the “fake news” would not

accurately report on what happened at the Capitol but that they had “seen it all” and they “got

footage all over the place on the Capitol” and that they would “probably share some of it here and

there.”

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                       Probable Cause – W-1’s Identification of AYRES

       18.     On or about January 16, 2021, law enforcement interviewed a witness (W-1), in

connection with a tip that W-1 had provided the FBI on January 13, 2021, regarding AYRES’s

presence at the U.S. Capitol on January 6, 2021. W-1 is one of AYRES’s family members.

       19.     W-1 advised that on January 6, 2021, W-1 observed AYRES post “a bunch of

commotion” to AYRES’s Facebook account via Facebook Live. As W-1 watched the streaming

video, W-1 realized that AYRES, Male 1, Female 1, and others were inside the U.S. Capitol as the

streaming video was being broadcast from AYRES’s Facebook account. W-1 stated that, in the

streaming video, AYRES was acting “like he was at war” and there was a lot of “yelling and

screaming going on.” At some point during the streaming video, AYRES stated that the incident

at the Capitol was “just the beginning” because there was “more to come next week.” W-1 did not

know what AYRES was referring to regarding “next week.”

       20.     W-1 also advised that, sometime after viewing the streaming video on AYRES’s

Facebook account, W-1 viewed another video posted to AYRES’s Facebook account that depicted

AYRES, Male 1, and Female 1 speaking from a hotel room about what happened to them in the

U.S. Capitol. W-1 described this hotel video with sufficient detail to confirm that it was the same

video, as described above, that the FBI observed on both AYRES’s Facebook account and on

YouTube.

       21.     On January 17, 2021, W-1 confirmed that the following photograph, AYRES’s

Ohio driver’s license picture, was in fact AYRES:




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      22.      On January 16, 2021, W-1 provided screenshots of the following posts, which W-

1 had taken from AYRES’s Facebook page:

            a. In a post, made on December 26, 2020, AYRES stated: “If the [DS] robs president

               Trump!!! Civil War will ensue!” (Brackets shown are in the original post.)

            b. In another post made on December 27, 2020, AYRES stated that he “and a handful

               of other people are headed to D.C. for the Trump rally on the 6th!! . . . . So hopefully

               we are going to hear about [how] all the DS are being tried for treason!!” In the

               comment section of the same post, AYRES commented that it was “time for us to

               start standing up to tyranny! History is happening as we speak! . . . It’s time for us

               partiers to stand up and act! Before it’s too late!!”

            c. In the following post another post made on December 28, 2020, AYRES shared

               U.S. President Donald J. Trump’s December 27, 2020 Tweet advising his

               supporters not to “miss” January 6 in Washington, D.C., and AYRES commented,

               “Where will you be on January 6th? Chilling at home? HOPING this country isn’t
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                going to hell in a hand basket? Or are you willing to start fighting for the American

                Dream! Again!?!?”

             d. In the following post made on January 1, 2021, AYRES shared a picture and link

                to an article that purports to show that Speaker of the House Nancy Pelosi’s home

                was vandalized. AYRES added a caption to the post that stated, “This is just the

                beginning! The governors, senators, representatives, etc…..Really don’t have a clue

                what is coming!!”




                        Probable Cause – U.S. Capitol Surveillance Video

       23.      Law enforcement reviewed surveillance footage from within the U.S. Capitol of the

civil unrest on January 6, 2021. After entering the Building through the same entrance at slightly

different times, AYRES and Male 1 appear to find each other in the crowd and then stand and



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move together. An example of AYRES (baseball hat, red facemask, holding cellphone) and Male

1 (circled in green) together inside the U.S. Capitol Building is:




       24.     Male 1 is first visible in video footage from within the U.S. Senate wing. Male 1,

along with many others, forcefully pushes his way through both the makeshift barricades and the

wall of U.S. Capitol Police officers to make entry into the building. Male 1 then stands among

dozens of other intruders in the crowded Senate wing lobby as many others continue to flow in

from both the door and broken windows now that the police had been forced to retreat. AYRES,

donning a black and white baseball cap, hooded jacket, and red facemask, makes his way into the

same Senate wing lobby within minutes of Male 1’s forced entry. AYRES and Male 1 eventually

locate each other among the dozens in the crowd within the Senate lobby.

       25.     On January 19, 2021, W-1 provided law enforcement the following picture that

Male 1 had posted on Male 1’s Facebook account on January 5, 2021, which depicted AYRES,

Male 1, and others at the U.S. Lincoln Memorial:




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       26.       In the above picture, AYRES is wearing what appears to be the same black and

white hat that AYRES is wearing as he walks through the Senate wing lobby in the January 6,

2021, footage.

       27.       On January 20, 2021, law enforcement showed W-1 seven (7) screenshots that were

taken at various points during the time that AYRES is visible in the surveillance footage as he

walks through the Senate lobby. W-1 immediately recognized the individual in the photographs to

be AYRES. Though the individual was wearing a face mask, W-1 confirmed that it was

“definitely” AYRES based on the facial features that were still visible in the photographs.

Additionally, AYRES was wearing the same hat that he was wearing in the picture that Male 1

had posted on Facebook of the group at the Lincoln Memorial on the day before. W-1 also

recognized the jacket that AYRES was wearing in the photographs to be the same jacket that

AYRES was wearing during AYRES’s live-stream from within the U.S. Capitol on Facebook live
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on January 6, 2021. The following three images are examples of AYRES in the surveillance

footage:




                          Probable Cause –AYRES’s Facebook Records

       28.      On January 17, 2021, law enforcement accessed AYRES’s public Facebook page

and confirmed that the hotel video of AYRES, Male 1, and Female 1 was still not visible. The

following posts, among others, were visible:

             a. In a post made on January 2, 2021, AYRES stated: “History is being made right in

                front of your eyes! When your grandchildren ask “Where were you

                when...........happened?” What's your answer going to be?” The post attaches an

                image of a poster stating, “January 6th Washington, DC, the president is calling on

                us to come back to Washington on January 6th for a big protest – ‘Be there, will be

                wild.’”

             b. In a post made on January 3, 2021, AYRES stated: “Mainstream media, social

                media, Democrat party, FISA courts, Chief Justice John Roberts, Joe Biden, Nancy

                Pelosi, etc....all have committed TREASON against a sitting U.S. president!!! All

                are now put on notice by ‘We The People!’”
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             c. In a post made on January 4, 2021, AYRES shared an article entitled, “Report:

                Biden’s Inaugural Parade Viewing Stands Taken Down - Parade in Doubt – They’re

                Afraid it Will Turn into a Massive MAGA Rally.” AYRES’s caption stated that he

                knows “nobody will be there!! The election was rigged!!!”

             d. In a post made on January 5, 2021, AYRES shared a black and white picture of

                someone holding a sign that reads: “YOUR OBEDIENCE IS PROLONGING

                THIS NIGHTMARE.”

       29.      On January 19, 2021, U.S. District Court for the District of Columbia Magistrate

Judge Robin M. Meriweather authorized a search warrant for AYRES’s Facebook account. On

January 20, 2021, Facebook produced records responsive to the search warrant. The account’s

user-supplied name was “Stephen Ayres,” the account was associated with a “Gmail” address with

the name “steveayres” and a number, and the account was associated with a telephone number

ending in 1076, which was last “verified” on December 19, 2020. In a public records database,

this particular phone number was associated with AYRES in two separate reports. Additional

review of data provided by Facebook revealed the following:

             a. On January 5, 2021, Male 1 “tagged” AYRES in a picture at the Lincoln Memorial

                (same picture as described above by W-1).

             b. On January 6, 2021, at 7:52 p.m. Eastern Standard Time (EST), AYRES “was live”

                with Male 1 and Female 1 and posted the same video from the hotel room that was

                posted on Facebook and YouTube, discussed above.

             c. On January 6, 2021, at 7:15 p.m. EST, AYRES, posted the following picture of

                himself with Male 1 being interviewed outside of the U.S. Capitol with the

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     following caption: “Made it on Faux News!! Front and center!! [Name of Male 1]

     on the left and me on the right!” AYRES was wearing what appeared to be the same

     hooded jacket he was seen wearing on surveillance video while inside the Senate

     wing lobby, as described above.




  d. On January 7, 2021, AYRES posted an image of “Viking guy” with the following

     caption: “The Capitol building is probably the 2nd most protected building in DC!

     Right behind the White House! If they didn't want the protestors inside the Capitol

     building, they never would of been in there! That simple! Yes it definitely doesn't




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     pass the smell test! Unarmed citizens over powered fully armed swat teams???????”

     AYRES tagged Male 1 in this post.

  e. On January 6, 2021 at 2:50 p.m. EST, AYRES sent the following picture to another

     Facebook user of people storming the U.S. Capitol. At 3:28 p.m. EST, AYRES

     messaged the same user: “Some cops already stood down and took their gear off in

     our favor”.




  f. On January 6, 2021, at 6:15 p.m. EST, AYRES posted a video (screenshot below)

     of rioters storming the U.S. Capitol:




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             g. In addition to the instances above, AYRES “went live” on Facebook at the

                following times on January 6, 2021: 4:09 p.m. EST, 7:56 a.m. EST, 7:43 a.m. EST,

                and 7:34 a.m. EST.

                                         CONCLUSION

       30.      Based on the foregoing, your affiant submits that there is probable cause to believe

that AYRES violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or

impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional

proceedings are official proceedings.

       31.      Your affiant also submits that there is probable cause to believe that AYRES

violated 18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain in any

restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent

to impede or disrupt the orderly conduct of Government business or official functions, engage in
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disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds

when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government

business or official functions. For purposes of Section 1752 of Title 18, a restricted building

includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the

President or other person protected by the Secret Service is or will be temporarily visiting; or any

building or grounds so restricted in conjunction with an event designated as a special event of

national significance.

       32.     Your affiant also submits there is probable cause to believe that AYRES violated

40 U.S.C. § 5104(e)(2)(D), which makes it a crime to which makes it a crime to willfully and

knowingly utter loud, threatening, or abusive language, or engage in disorderly or disruptive

conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the

orderly conduct in that building of a hearing before, or any deliberations of, a committee of

Congress or either House of Congress.



                                              _________________________________
                                              SPECIAL AGENT AUSTIN PRICE
                                              FEDERAL BUREAU OF INVESTIGATION


ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS
OF FED. R. CRIM. P. 4.1 BY TELEPHONE, THIS 22ND DAY OF JANUARY, 2021.
                                                                     2021.01.22
                                                                     16:03:49 -05'00'
                                                     ___________________________________
                                                     ROBIN M. MERIWATHER
                                                     U.S. MAGISTRATE JUDGE


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